            IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF KANSAS


IN RE:
The One Bridal, LLC                                     Case Number: 23-20605
                                                        Chapter : 11
                                       Debtor(s)
                   ___________________________________________

      NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST
                REGARDING PLAN CONFIRMATION

Notice is hereby given that the Debtor has filed a Chapter 11 Plan, Dated August
29, 2023
A non-evidentiary hearing on confirmation of the Chapter 11 Plan will be held on
October 19, 2023 beginning at 1:46 P.M. before the United States Bankruptcy
Court, 500 State Avenue, Courtroom 144, Kansas City, Kansas, at which time the
debtor(s) or its representative must personally appear.

May 31, 2023 is fixed as the date on which any equity security holder or creditor
whose claim is based on a security must be the holder of record of the security in
order to be eligible to accept or reject the Chapter 11 Plan.

All objections to the Chapter 11 Plan should be filed with the Clerk of the
Bankruptcy Court, 500 State Avenue, Room 161, Kansas City, Kansas 66101 on or
before September 26, 2023 and served upon counsel for the Debtor.

September 26, 2023 is fixed as the last day for receipt of acceptances or rejections
of the Chapter 11 Plan. All ballots must be received at the address listed on the
ballot prior to 4:00 p.m. on that date to be counted.

On or before September 13, 2023, there should be mailed to all parties in interest,
or parties required to receive notice by the Code, a copy of this Notice, the Chapter
11 Plan, and appropriate forms for the acceptance or rejection of the Plan. A
certificate of service must be filed with the court no later than September 20, 2023,
and a ballot summary no later than October 16, 2023.


      Dated: August 30, 2023                       s/ Dale L Somers
                                                   Hon. Dale L Somers
                                                   United States Bankruptcy Judge




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